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 3                                                                             DlsrqlcroyNEVADA
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 5
 6                             UNITED STATES DISTRICT COURT
 7                                     D ISTRICT O F N EVA D A

 8 UNITED STATESOFAM ERICA,                        )
                                                   )
 9                        Plaintiff,               )
                                                   )
10           v.                                    )        2:1I-CR-3Z7-PMP-ICW HI
                                                   )
1l M ICHAEL CLYDE DUTY,                            )
                                                   )
12                        Defendant.               )
13                    AM ENDED PRELIM INARY ORDER OF FORFEITURE                                            .
14           ThisCourtfindsthaton August22,2012,defendantM ICHAEL CLYDE DUTY pledguilty
15 to CotmtTwo ofaNine-cotmtCriminalIndictmentcharginghim in CountTwo with Conspiracyto
16 UnlawfullyDealinFirearmsinviolationofTitle18,UnitedStatesCode,Sections371and922(a)(1).
17 Crim inalIndictment,ECF No. 1;Plea M emorandum , ECF No.76;M inutes of Change ofPlea
l% Procetdings,ECF No.75.
19           ThisCourtfindsdefendantM ICHAEL CLYDE DUTY agreedtotheforfeitureoftheproperty
20    setforth in thePlea M emorandum .PleaM em orandum , ECF N o.76.

21           This Courtfinds,pursuantto Fed.R.Crim.P.32.2(b)(1)and (2),the United Statesof
22    Americahasshown therequisitenexusbetween property setforth in thePleaM emorandum andthe
23 offenseto which defendantM ICHAEL CLYDE DUTY pled guilty. Crim inalIndictm ent,ECF No.
24    1)PleaM emorandum,ECF No.76.
25    ...
26    ...
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 1           ThefollowingassetsaresubjecttoforfeittzrepursuanttoTitle18,UnitedStatesCode,Section
 2 924(d)(1)andTitle28.UnitedStatesCode,Section 2461(c):
 3           (a) M averick model88,12gaugeshort-barreledshotgun,serialnumberMV049340;
 4           (b) M ossbergmodel500A,12gaugeshotgun,serialnumber1.244961;
 5           (c) IntratecM odelTec-g,9mm,serialnumber23988;
 6           (d) RussianSKS7.62X39riflewithbayonet,serialnumber9937905;
 7           (e) Berettamodel92175Compact,91m11pistol,serialnumberE31982Z,)
 8           (9    ahomemadeM ac-l1type,9mm pistol;
 9           (g) Keltic,CNC Industries,lnc.P1lpistols9mm,serialnumberASK60;and
10           (h) anyanda1lammunition Cpropertyn).
11           n is Courtfind the United States ofAmerica is now entitled to,and should, reduce the
12 aforementioned propertyto the possession oftheUnited StatesofAm erica.
13           NOW THEREFORE,IT IS HEREBY ORDERED,ADJUDGED,AND DECREED thatthe
14    United StatesofAmerica should seizetheaforem entioned property.
15           IT IS FURTHER ORDERED,ADJUDGED,AND DECREED al1right, title,and interestof
16 M ICHAEL CLYDE DUTY in the aforementioned property isforfeited and isvested in theUnited
17 SltesofAm erica and shallbesafely held by theUnited StatesofAmericauntilfurtherorderofthe
18 Court.
19           IT IS FURTHER ORDERED,ADJUDGED , AN D DECREED theUnited SotesofAmerica

20 shallpublish foratlemstthirty (30)consecutivedayson theofficialinternetgovernmentforfeiture
2l websiteswwm forfeiture.eov,noticeofthisOrder,which shalldescribetheforfeited property, stte
22 thetimetmdertheapplicablestatutewhenapetitioncontestingtheforfeituremustbetiled, and sïte
23 thensmeandcontad inform ation forthegovem mentattorneytobeservedwitbthepetition, pursuant
24 toFed.R.Crim.P.32.2(b)(6)andTitle21,United StatesCode,Section 853(n)(2).
25           IT ISFURTHER ORDERED,ADJUDGED, M D DECM ED aPetitiOn,ifany,mustbefiled
26 with theClerk oftheCourts333LmsVegasBoulevard South, Las V egas,N evada 89101.




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         1           IT IS FURTHER ORDERED,ADJUDGED,AND DECREED acopy ofthepetitionsifany,
         2    shallbe served upon the AssetForfeiture Attorney ofthe United StatesAttorney's Oftice atthe
         3    following addressatthetimeoffiling:

         4           Mi
                     A cjaelA.Pumphreys
                      sslstantUnlted StatesAttorrley                                                        .
         5           Lloyd DwGeorgeUnited StatesCourthouse
                     333 LasVegasBoulevard South,Suite5000
         6           Las Vegas,N evada 89101,
         7           IT IS FURTHER ORDERED,ADJUDOED,AND DECREED thenotice described herein
         8 need notbepublished in theeventaDeclaration ofForfeiture isissued bytheappropriateagency
         9 followingpublication ofnoticeofseizureand intentto administratively forfeittheabove-described
        10    property.
        11           DATED this 1èo dayof              '            ,   2013.
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        14
                                                           TED TATES DI          CT JUDGE
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